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             EXHIBIT 3
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        State of California                     EnglishBay News 3
                                        San Francisco
          State of California
       CaliforniaBay
   San Francisco State Coastal Conservancy
                     News

   San Francisco Bay Restoration Authority 

   South Bay Salt Ponds 

   Dutch Slough Wetland Restoration Project 

   Hamilton Wetlands Restoration Project

   Highway 37 and the San Pablo Baylands

   Invasive Spartina Project 

   Napa River Salt Marsh Restoration Project

   Bay Area Ridge Trail 

   San Francisco Bay Trail 

   San Francisco Bay Area Water Trail 

   California Coastal Trail

   Subtidal Habitat Goals Report and Living Shorelines Project
    




  San Francisco Bay Area
  Along with being home to seven million people, the nine-
  county San Francisco Bay Area is home to a diversity of
  wildlife and habitats, world-class recreational
  opportunities, urban waterfronts, and working farms and
  ranches. These are the resources that the San Francisco
  Bay Area Conservancy Program works to protect and
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                                improve. The region is
                                defined by the San Francisco
                                Bay, whose edges are a mix
                                of urban waterfronts and
                                wetland habitats. The rivers
                                that flow into the Sacramento
          Photo: Jitze Couperus and San Joaquin River Delta
                                are the estuary’s primary
                                source of freshwater; in
  addition, numerous smaller creeks and rivers flow into the
  Bay. The ridgelines that surround the Bay provide a
  greenbelt for wildlife and people and are home to iconic
  peaks – including Mount Tamalpais, Mount Diablo, and
  Mount Hamilton. Over the past twenty years, the Bay Area
  Program has worked with partners to allocate $387
  million to over 700 restoration, protection, and public
  access projects in the Bay Area.
  In May 2023, the Conservancy participated in a webinar
  with the EPA, NOAA and the San Francisco Bay
  Restoration Authority on accessing federal, state, and
  regional funding. A recording of the webinar can be
  found here .


  Bay Area Conservancy Project
  Priorities
  The San Francisco Bay Area Conservancy Program
  undertakes projects to improve public access to the bay,
  coast, ridgetops, and urban open spaces; to protect,
  restore, and enhance habitat, watersheds, scenic areas,
  and open space; and to provide open space and natural
  areas that are accessible to urban populations for
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  recreational and educational purposes. In the Bay Area,
  the Conservancy works on the following:
     The Greenbelt — The San Francisco Bay Area
      Conservancy Program works with land trusts, parks
      departments, open space districts, and others to protect
      regionally significant habitats, connecting corridors,
      watersheds, scenic areas, and agricultural lands. Fee
      title acquisitions and conservation easements with
      willing landowners are tools used to protect land for
      wildlife, recreation, agriculture, and other values. The
      Conservation Lands Network  guides our land
      protection efforts.
     Recreational Opportunities — As the region continues
      to grow in population, the acreage and accessibility of
      open space for urban populations needs to keep pace.
      We are working with others to complete four Regional
      Trails in the Bay Area: the Bay Area Ridge Trail , the
      San Francisco Bay Trail , the California Coastal Trail ,
      and the San Francisco Bay Area Water Trail . In
      addition, we work to complete other trails, educational
      and interpretive centers, staging areas, piers, picnic
      areas, campgrounds, urban waterfronts, and other
      recreational amenities. The Bay Area Trails
      Collaborative’s Interactive Trail Map  is also a great
      place to learn more about your local trails!
     Wetlands and Resilient Shorelines — Approximately
      85% of the Bay’s tidal wetlands have been lost since the
      Gold Rush. The Baylands Ecosystem Habitat Goals
      Report  calls for 100,000 acres of wetlands around the
      Bay. We are leading efforts for the restoration of the
      South Bay Salt Ponds , Napa River Salt Marsh ,
      Hamilton and Bel Marin Keys, and Dutch Slough  and
      are funding several other planning and restoration
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      efforts. We are also implementing the recommendations
      of the Subtidal Habitat Goals Report , through such
      projects as the San Francisco Bay Living Shorelines 
      project. With the Marin Community Foundation, we are
      administering a multi-year grant program to advance
      nature-based solutions in Marin county. And we are
      helping communities and wildlife prepare for sea level
      rise by analyzing risks and designing flood protection
      with nature.
     Watersheds — The local watersheds surrounding San
      Francisco Bay have been dramatically altered due to
      development, water diversions, and urban runoff. We
      fund local watershed plans and projects to improve
      watershed processes and functions, including creek and
      river restoration efforts. A particular focus is on
      removing barriers to migration and increasing habitat
      for steelhead trout, guided by the San Francisco Estuary
      Watersheds Evaluation  by the Center for Ecosystem
      Management and Restoration.
     Estuary Blueprint – The San Francisco Bay Area
      Conservancy Program partners with local, regional,
      state, and federal government agencies, scientists,
      citizen advocates, non-profits, and businesses to carry
      out priority actions identified in the Estuary Blueprint .
      The Blueprint is a collaborative, comprehensive
      conservation plan to improve the health and resilience
      of the aquatic, wetland, upland, and riparian ecosystems
      of the San Francisco Estuary. A recent update to the
      plan addresses the dual stressors of climate change and
      population growth.
     Working Farms and Ranches — The Bay Area is
      fortunate to have a remarkable diversity of food
      produced within close range, and over 40% of Bay Area
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      lands remain as farms and ranches. Oftentimes, these
      farms and ranches also serve as important habitat for
      fish and wildlife. The Conservancy works with land
      trusts, resource conservation districts, and federal
      agricultural programs to promote agricultural
      sustainability through innovative land practices,
      conservation agreements, and direct planning
      assistance.
     Environmental Education — The Conservancy has
      supported numerous education centers in the Bay Area,
      many in underserved communities, to allow children and
      adults to learn about wildlife habitats and our cultural
      heritage and to empower our next conservation leaders.
      In addition, through our Explore the Coast grant
      program, we have funded educational and interpretive
      programs that improve and encourage access to the
      coast and bay shoreline.
     Introduced Species — The San Francisco Estuary is one
      of the most invaded aquatic ecosystems on earth, with
      90% of the species and biomass introduced. The
      Conservancy’s interest is funding the successful
      prevention, control, or eradication of invasive species
      that threaten important habitats. In particular, we are
      the lead agency for the Invasive Spartina Project . We
      also fund hands-on projects that involve students and
      community volunteers in removing invasive plants and
      planting natives in habitats around the Bay Area.

  Bay Area Conservancy Projects
  Click on the links below to find out more about the Bay Area
  Conservancy’s work.
     South Bay Salt Ponds 
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     Dutch Slough Wetland Restoration Project 
     Hamilton Wetlands Restoration Project
     Highway 37 and the San Pablo Baylands
     Invasive Spartina Project 
     Napa River Salt Marsh Restoration Project
     Bay Area Ridge Trail 
     San Francisco Bay Trail 
     San Francisco Bay Area Water Trail 
     California Coastal Trail
     Subtidal Habitat Goals Report and Living Shorelines
      Project 
     Conservation Lands Network 
     Bay Area Annual Project Reports


  Bay Area Conservancy Partners
     San Francisco Bay Conservation and Development
      Commission 
     Bay Area Regional Collaborative 
     TOGETHER Bay Area 
     San Francisco Bay Joint Venture 
     San Francisco Estuary Partnership 
     San Francisco Bay Restoration Authority 
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